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                                            UNITED STATES DISTRICT COURT
                                             SOUTHERN DISTRICT OF OHIO
                                                 WESTERN DIVISION

            MESA INDUSTRIES, INC.,                                :   Case No. l:22-cv-160

                     Plaintiff,                                   :   (Judge Jeffery P. Hopkins)

            -v-                                                   :

            CHARTER INDUSTRIAL SUPPLY,                            :
            INC., et al.                                          :

                     Defendants.                                  :

                                                 STIPULATED INJUNCTION

                     This matter came before the Court on Plaintiffs Verified Complaint for Injunctive Relief

            and Damages (“Verified Complaint”).              In order to avoid the expense, inconvenience, and

            uncertainties of litigation, and without any Party conceding any fault or responsibility on its/his/her

            behalf or any liability to any other Party, the parties hereby advise the Court that the parties wish

            to settle the pending litigation subject to the agreed upon terms of this Stipulated Injunction.

            Therefore, it hereby ORDERED, ADJUDGED, AND DECREED AS FOLLOWS:

                     1.      Defendants Charter Industrial Supply, Inc., Alex Espinoza, and Kyle King and their

            agents (collectively “Defendants”), shall be restrained and enjoined from, accessing, disclosing,

            and/or using the following documents obtained from any current or former Mesa employee:

                             a.      Plaintiffs Drawings, including:

                                      i.       Plaintiffs Application Drawings, which have also been referred to

                                                in this litigation as Reference Drawings, and which depict the

                                               positioning, placement and utilization of Plaintiffs products by

                                               customers, contractors, or end-users; and

                                     ii.       Plaintiffs Product Drawings, which have also been referred to in
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                                                this litigation as Manufacturing Drawings, and which depict the

                                                specifications of Plaintiffs products for use in manufacturing and

                                                assembling the products.

                             Plaintiffs Drawings are a set of drawings created by Plaintiff in either AutoCAD

                             or Autodesk Inventor depicting Plaintiffs products in individual files (one per

                             drawing), with each drawing saved in its own file in various formats, including

                             PDF (.pdf), AutoCAD (.dwg) and Autodesk Inventor (.ipt, .iam, .idw); and

                             b.       Plaintiffs Above-Ground Storage Tank Database (defined immediately

                                     below):

                                      i.        Plaintiffs Above-Ground Storage Tank Database is a set of data

                                                regarding above ground storage tanks compiled by Plaintiff into a

                                                single database in MS access stored in a single MS Access file

                                                (.mdb); and

                             c.      Any printouts or copies, whether electronic or otherwise, of Plaintiffs

                                     Application Drawings, Product Drawings, and/or Above-Ground Storage

                                     Tank Database; and

                             d.      Mesa compatibility charts, data sheets, price listings, brochures, or other

                                     documents created by Mesa or bearing the Mesa logo.

                    2.       Nothing in this Stipulated Injunction prevents Defendants from accessing,

            disclosing, and/or using information that is included in any of the above referenced documents

            (l(a)-(d)), provided that the Defendants obtained that information and/or documents from sources

            other than Plaintiff.




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                     3.      It is not a violation of this Stipulated Injunction for the Defendants to access,

            disclose, and/or use Plaintiffs information and/or documents described above, provided that

            Defendants obtained such information or documents from public sources or from customers,

            contractors, or end-users.

                     4.      For any of Plaintiffs documents described in l(a)-(d) above which Defendants

            obtain from customers, contractors, or end-users after the date of this order, Defendants shall create

            and keep a log including the following information:

                             a.       The source from which Defendants received such documents;

                             b.       The date on which such documents were received;

                             c.       The format in which the documents were received, e.g. PDF, hard copy, etc.

                             d.       The manner in which such documents were received, e.g. email, text

                                      message, etc.

            Defendants shall make such log, documents, and any related communications (including

            communications by which such documents were received) available to counsel for Plaintiff on a

            quarterly basis, in accordance with the following schedule:

                     °      September 30, 2023

                     °      December 31, 2023

                     ®      March 31, 2024

                    o       June 30, 2024

                    •       September 30, 2024

                    e       December 31, 2024

                    .       March 31, 2025

                    e       June 30, 2025


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            If Defendants inadvertently fail to provide a log by the above dates, Plaintiff shall notify

            Defendants of the failure and Defendants shall have five (5) business days to provide the log. The

            log and any related documents may be marked as Attorney’s Eyes Only pursuant to the Stipulated

            Protective Order [Doc. 22].

                     5.      This Stipulated Injunction is effective immediately and shall remain in effect

            through June 30, 2025.

                     6.      Nothing in this Stipulated Injunction is an admission of any kind, nor a waiver or

            release of any claims or defenses. The Parties reserve their right to challenge any claim or

            allegation that one or more of the Parties violated this Stipulated Injunction.

                     7.      Upon entry of this Stipulated Injunction and pursuant to the settlement agreement

            between the Parties, the case is dismissed. The Court shall retain jurisdiction over this matter and

            allow this case to be reopened for the purpose of enabling the parties to this Stipulated Injunction

            to apply to this Court for further Order that may be necessary to construe, carry out, or enforce

            compliance with the terms of this Stipulated Injunction.

                    IT IS SO ORDERED.

                     Signed and entered this_____ day of______________2023.




                                                                  Judge Jeffery P. Hopkins




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            Agreed to by:

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